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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


          v.                                           3:05-CR-073

PETER JOHN DE MOTT,
CLARE THERESE GRADY
DANIEL JOSEPH BURNS,
TERESA BERRIGAN GRADY,

                                    Defendants.

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THOMAS J. McAVOY
Senior United States District Judge

                                     DECISION and ORDER

Defendants’ Motion

          Defendants have moved for the following relief: (1) to conduct voir dire themselves

(i.e., not through counsel); (2) alternatively, that the Court itself present to the jury those

questions from Defendants’ questionnaire that the Court previously approved; (3)

alternatively, that the Court present Defendants’ questionnaire to the proposed jurors in

writing; and (4) alternatively, that their standby counsel, Professor Quigley, be permitted one

half hour for voir. Defendants filed a separate motion seeking an order requiring the

government to provide notice of its intent to use evidence of prior arrests, convictions or bad

acts and to compel the government to provide evidence regarding the same. Finally,

Defendants have sought to have six paralegals be present in the well and to be permitted to

bring laptops into the Courtroom.
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           Defendants’ requests to personally conduct voir dire and to have written questions

presented to the jurors are DENIED. See Fed. R. Crim. P. 24(a)(1). Defendants may have

their counsel conduct voir dire on their behalf.1 If counsel conducts voir dire, counsel shall be

afforded one-half hour to do so.2 The government would similarly be allotted one-half hour to

conduct voir dire. If the Court examines the jurors, it will present to them those questions

from Defendants’ questionnaire, and any other questions, that it deems appropriate. The

Court also will afford Defendants an opportunity to participate in any follow-up questioning by

presenting additional proposed questions to the Court. Whether any particular questions are

presented to the jurors will be within the discretion of the Court and in accordance with its

obligation to ensure that Defendants receive a fair trial.

           Defendants’ motion seeking a notice from the government concerning its intention

to use evidence of prior arrests, convictions, or bad acts is DENIED as moot. The

government has notified Defendants that it does not intend to use such evidence in its case

in chief. For similar reason, Defendants motion for the production of evidence concerning

prior arrests, convictions or bad acts is DENIED (the government has already supplied

Defendants with copies of their criminal histories).

           Defendants request to use six paralegals is DENIED. Defendants may select four

paralegals (one for each Defendant) to assist them in their defense of this matter. Each of


           1
             Def end ant s w ere sup po sed t o in f orm t he Co urt by Th ursd ay , Sep t em ber 1 5 , 2 0 0 5 w het her
  t hey w ere go ing t o h av e t heir c ou nsel c on du ct v oir d ire or w het her t hey pref erred t hat t he Co urt do it
  ins t ead. D efe n d an ts fai led to c o m p ly w i th this requirement.

           2
             No att orney assisting Defendants may conduct v oir dire or otherw ise act on behalf of
  Defendants before this Court unless and until they are admitted to practice in the Northern District of
  New York. They m ay seek t o be admitted pro hac vi ce upon proof of proper credentials and
  co m plian ce w it h t he ap plic able ru les of t his Co urt . D ef end ant s w ere inf orm ed o f t his req uirem ent in
  t he Court ’ s M ay 4 , 2 0 0 5 Order.

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the four paralegals and each of the four Defendants may use laptop computers to assist

them in conducting their defense.

          All parties should be cautioned that any on-line, modem, or wireless communication

abilities of any laptop computer or other electronic device used in the Courtroom shall be

disabled while it is being used in the Courtroom. No party shall make an audio or video

recording or otherwise transmit the proceedings in this matter.

The Government’s Motion

          The government has moved to exclude from the introduction into evidence all of

Defendants’ proposed exhibits, except one. The government contends that Defendants’

proposed exhibits are irrelevant and are an additional attempt by Defendants to introduce

matters concerning international law and the legality of the conflict in Iraq.

          This Court has previously ruled that the war in Iraq and matters of international law

are irrelevant to this matter. The Court specifically held that “it is immaterial whether

Defendants acted because of their beliefs concerning the Iraq war. It similarly is immaterial

whether Defendants thought that they were lawfully acting under principles of international

law. . . [T]he focus is not on whether they believed they were acting for a lawful purpose (in

furtherance of international law), but whether they had the mental resolution to impede an

officer” of the United States or otherwise engage in the conduct alleged in the Indictment.

“Statements . . . concerning international law [are] not relevant to any issue in the case.”

United States v. Komisaruk 885 F.2d 490, 493 (9 th Cir. 1989). The Court stands by its prior

rulings. The Court expects that all parties in this matter will adhere to Court rulings and not

endeavor to circumvent them. If any party wishes to challenge this Court’s rulings, the

proper mechanism to do so is by appealing to the Second Circuit Court of Appeals. The

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Court will review Defendants’ proposed exhibits prior to, or during the course of, trial and

determine whether they will be admissible.

          The government next seeks to preclude Defendants from interjecting before the

petit jury any information concerning the prior state court proceedings concerning these

same Defendants. Whether Defendants were prosecuted in another jurisdiction (i.e., the

State of New York) and the result of any such proceedings are not relevant to the

proceedings before the Court. Accordingly, the government’s motion is GRANTED and

Defendants shall not introduce any information concerning the prior state court proceedings

before the petit jury.

          The government also seeks to preclude the testimony of the individuals identified

on Defendants’ witness list. The government contends that these named witnesses are likely

to testify on matters concerning international law or the legality of the Iraq war and, therefore,

their testimony is irrelevant. The Court will make the necessary evidentiary rulings

immediately prior to, or during the course of, trial.

IT IS SO ORDERED.

Dated: September 16, 2 005




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